         Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 1 of 18 Page ID #:1095



                     1   JAMES TURKEN (BAR NO. 89618)
                     2   james.turken@nortonrosefulbright.com
                         JAYESH PATEL (BAR NO. 132939)
                     3   jayesh.patel@nortonrosefulbright.com
                     4   CHAKAMEH GANJI (BAR NO. 311720)
                         chakameh.ganji@nortonrosefulbright.com
                     5   NORTON ROSE FULBRIGHT US LLP
                     6   555 South Flower Street
                         Forty First Floor
                     7   Los Angeles, California 90071
                     8   Telephone: (213) 892-9200
                         Facsimile: (213) 892-9494
                     9

                    10   THOMAS R. DEE (Admitted Pro Hac Vice)
                         tdee@vedderprice.com
                    11   CODY D. LIBMAN (Admitted Pro Hac Vice)
                    12   clibman@vedderprice.com
                         VEDDER PRICE P.C.
                    13   222 North LaSalle Street
                    14   Chicago, Illinois 60601
                         Telephone: (312) 609 7500
                    15   Facsimile: (312) 609 5005
                    16
                         DEBORAH A. HEDLEY (SBN 276826)
                    17   dhedley@vedderprice.com
                    18   VEDDER PRICE (CA), LLP
                         1925 Century Park East, Suite 1900
                    19   Los Angeles, California 90067
                    20   Telephone: (424) 204 7700
                         Facsimile: (424) 204 7702
                    21

                    22   Attorneys for Plaintiff
                         BAKEMARK USA, LLC
                    23

                    24
                         GARY K. SALOMONS (SBN 126280)
                    25
                         gary@salomonslaw.com
                    26   SALOMONS LAW GROUP
                         4558 Sherman Oaks Avenue
                    27
                         Sherman Oaks, CA 91403
                    28   Telephone: (818) 304-8440
DOCUMENT PREPARED                                              -1-
ON RECYCLED PAPER

                                                   JOINT RULE 16(B)/26(F) REPORT
         Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 2 of 18 Page ID #:1096



                     1   JEFF KATOFSKY (SBN 138773)
                     2   jeff@katofskylaw.com
                         LAW OFFICES OF JEFF KATOFSKY
                     3   4558 Sherman Oaks Avenue, 2nd Floor
                     4   Sherman Oaks, CA 91403
                         Telephone: (818) 990-1475
                     5
                         Attorney Defendants
                     6
                         CAPITOL DISTRIBUTION COMPANY, LLC
                     7   and GARY HARDGROVE
                     8
                         THEODORE E. BACON (SBN. 115395)
                     9   tbacon@AlvaradoSmith.com
                         JACOB M. CLARK (SBN 266630)
                    10
                         jclark@AlvaradoSmith.com
                    11   ALVARADOSMITH
                         1 MacArthur Place, Suite 200
                    12
                         Santa Ana, California 92707
                    13   Telephone: (714) 852-6800
                         Facsimile: (714) 852-6899
                    14

                    15   Attorneys for Defendants
                         SUNRISE FOOD SERVICE, INC., JAVIER
                    16   NAVARRO, JEFFREY KLEIN and BOYD MULLOY
                    17
                                          IN THE UNITED STATES DISTRICT COURT
                    18
                                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                    19

                    20   BAKEMARK USA, LLC, a Delaware               Case No. 2:21-cv-02499 JAK (AGR)
                         LLC,
                    21          Plaintiff,                           Hon. John A. Kronstadt
                    22                                               Hon. Alicia G. Rosenberg
                                     v.
                    23

                    24   JAVIER NAVARRO, an individual,
                         JEFFREY KLEIN, an individual, GARY          JOINT RULE 16(B)/26(F) REPORT
                    25
                         HARDGROVE, an individual,
                    26   CAPITOL DISTRIBUTION                        Hearing: Under Submission / No
                         COMPANY, LLC d/b/a CAPITOL                           Hearing
                    27
                         FOOD CO., a California limited liability
                    28   company, SUNRISE FOOD SERVICE,
DOCUMENT PREPARED                                              -2-
ON RECYCLED PAPER

                                                   JOINT RULE 16(B)/26(F) REPORT
         Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 3 of 18 Page ID #:1097



                     1       INC., a California corporation, BOYD       Complaint Filed: March 22, 2021
                     2       MULLOY, an individual, THOMAS
                             ALTAVILLA, an individual, and DOES
                     3       1 through 50, inclusive,
                     4
                                        Defendants.
                     5

                     6
                                 Pursuant to Federal Rule of Civil Procedure Rule 16(b) and Rule 26(f), Local
                     7
                         Rule 26-1, and the Court’s April 12, 2021 Order Setting Rule 16(b)/26(f)
                     8
                         Scheduling Conference (Dkt. No. 54), Plaintiff BakeMark USA, LLC
                     9
                         (“BakeMark”), Defendant Javier Navarro (“Navarro”), Defendant Jeffrey Klein
                    10
                         (“Klein”), Defendant Gary Hardgrove (“Hardgrove”), Defendant Boyd Mulloy
                    11
                         (“Mulloy”), Defendant Capitol Distribution Company, LLC (“Capitol”), and
                    12
                         Defendant Sunrise Food Service, Inc. (“Sunrise”)1 (collectively, the “Parties”)
                    13
                         hereby submit this Joint Rule 16(b)/26(f) Report. The Parties conducted a meet and
                    14
                         confer on these issues on June 10, 2021.
                    15
                                 A.    Statement of the Case:
                    16
                                 Plaintiff BakeMark:
                    17
                                 BakeMark is an industry-leading bakery supply company that manufactures
                    18
                         and distributes a complete line of bakery mixes, fillings and icings, frozen goods,
                    19
                         and flour, sugar and other baking supplies through its exclusive brands.
                    20
                         BakeMark’s secret recipes are the lynchpin of its enduring success. BakeMark also
                    21
                         owns a variety of proprietary information related to its expertise in manufacturing,
                    22
                         distribution, research & development, and in providing technical and marking
                    23
                         support to bakeries across the United States. Over the course of its decades long
                    24
                         business, BakeMark has proprietary databases that contain significant, confidential
                    25
                         and detailed financial data for its entire customer base, including such information
                    26

                    27   1
                          Defendant Thomas Altavilla (“Altavilla”) was served with the Summons in this
                         action on June 14, 2021 (Dkt. 85). Additionally, BakeMark removed Roy Bahner
                    28
                         as a defendant in this action with the filing of its First Amended Complaint.
DOCUMENT PREPARED                                                   -3-
ON RECYCLED PAPER

                                                       JOINT RULE 16(B)/26(F) REPORT
         Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 4 of 18 Page ID #:1098



                     1   as order history, margins, costs, pricing and other metrics valuable to servicing and
                     2   selling to those customers.
                     3         Defendants Navarro, Klein, Hardgrove, Mulloy, and Altavilla are former
                     4   employees of BakeMark. Defendant Sunrise is a competitor of BakeMark’s that
                     5   distributes a variety of food products, including bakery goods such as pre-mixes,
                     6   bases, sugar, flour, icings, shortening, and yeast. Defendant Capitol is a competitor
                     7   of BakeMark’s that manufactures and sells bakery products, such as donut mixes.
                     8         BakeMark has recently learned that the individual Defendants, while
                     9   employed by BakeMark, were working against BakeMark, apparently in cahoots
                    10   with Capitol and Sunrise. Specifically, the individual Defendants have engaged in
                    11   multiple unlawful acts on behalf of Sunrise and/or Capitol including, but not
                    12   limited to, stealing BakeMark’s trade secrets, confidential database information
                    13   containing material customer order, cost and price histories and information,
                    14   soliciting coworkers, plotting and taking actions to compete with, and undercut,
                    15   BakeMark while employed by BakeMark, soliciting BakeMark’s customers, and
                    16   illegally bypassing BakeMark’s system computer system safeguards to access
                    17   BakeMark’s proprietary information.
                    18         BakeMark filed this action to thwart any future harm to its business and
                    19   operations that these rogue employees and competitors may seek to inflict upon
                    20   BakeMark through their unlawful behavior.
                    21         Defendants Capitol and Hardgrove:
                    22         Capitol does not compete with BakeMark. Capitol does not solicit any
                    23   prospective donut mix customers. Capitol does not have any salesperson selling
                    24   donut mixes. Rather, the several donut mix customers that Capitol has specifically
                    25   requested that Capitol make donut mixes for them.
                    26         Neither Capitol nor Gary Hardgrove are working in cahoots with Sunrise or
                    27   any of the other defendants in this case. Rather, Capitol was approached by Boyd
                    28
DOCUMENT PREPARED                                                  -4-
ON RECYCLED PAPER

                                                       JOINT RULE 16(B)/26(F) REPORT
         Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 5 of 18 Page ID #:1099



                     1   Mulloy who inquired about Capitol making donut mixes for an unidentified
                     2   customer. Only later did Capitol learn Sunrise’s identity.
                     3         Neither Capitol nor Gary Hardgrove have ever had possession of, access to,
                     4   or seen, any of BakeMark’s recipes or formulations. There is absolutely no
                     5   evidence that either Capitol and/or Gary Hardgrove have ever had possession of,
                     6   access to, or seen, any of BakeMark’s recipes or formulations. Likewise, there is
                     7   absolutely no evidence that any of the defendants in this case ever provided any
                     8   BakeMark proprietary information to either Capitol and/or Gary Hardgrove.
                     9         To the contrary, Capitol purchased 4 donut mix formulations from a third
                    10   party in 2017. As to the other Capitol donut mix formulations, Capitol has a
                    11   research and development department comprised of food scientists who
                    12   independently developed all Capitol donut mix formulations.
                    13         Defendants Klein, Navarro, Mulloy, and Sunrise:
                    14         Sunrise Food Services, Inc. (“Sunrise”) is a wholesale food distributor, which
                    15   offers a broad scope of traditional foodservice items with a focus on fresh foods and
                    16   staples for bakeries. Boyd Mulloy, Javier Navarro and Jeff Klein (“individual
                    17   defendants”) are former employees of BakeMark. Sunrise hired Mulloy, Navarro,
                    18   and Klein after they were all fired by BakeMark. (Sunrise and the individual
                    19   defendants are referred to herein as the “Sunrise Defendants”).
                    20         The Sunrise Defendants deny any wrongdoing. The Sunrise Defendants have
                    21   used only publicly accessible information to lawfully compete with BakeMark in
                    22   the sale of donut mixes. The individual defendants did not disclose or transfer to
                    23   Sunrise any protectable BakeMark information they were privy to while employed
                    24   at BakeMark, and certified as such to Sunrise prior to commencing employment.
                    25   Sunrise obtained a list of potential donut mix customers from a third party vendor,
                    26   so the Sunrise Defendants never needed nor used any BakeMark customer lists.
                    27   Donut Mix customers freely disclose pricing of donut mix industry competitors,
                    28   including pricing of BakeMark, so the Sunrise Defendants never obtained, needed
DOCUMENT PREPARED                                                -5-
ON RECYCLED PAPER

                                                     JOINT RULE 16(B)/26(F) REPORT
         Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 6 of 18 Page ID #:1100



                     1   nor used any BakeMark pricing information. Sunrise purchased pre-existing donut
                     2   mixes from Defendant Capitol which Capitol owned or created independent of any
                     3   BakeMark products, so the Sunrise Defendants never needed nor used any
                     4   BakeMark recipes. Sunrise did not unlawfully solicit BakeMark employees and
                     5   instead, posted job opportunities on the internet to which BakeMark employees
                     6   responded.
                     7         BakeMark also has unclean hands as it has engaged in conduct designed to
                     8   unfairly compete, by forcing its salespersons to violate COVID stay-at-home orders
                     9   while its competitors comply with the pandemic rules and by engaging in a pattern
                    10   and practice of filing meritless “trade secret” claims against former employees in
                    11   order to squelch competition.
                    12         B.     Subject Matter Jurisdiction
                    13         The Court has subject matter jurisdiction over this action pursuant to 18
                    14   U.S.C. § 1836 and 28 U.S.C. § 1331 because the Defend Trade Secrets Act and the
                    15   Computer Fraud and Abuse Act present federal questions. The Court has
                    16   supplemental jurisdiction over the related state law claims pursuant to 28 U.S.C. §
                    17   1367 because they arise out of the same case or controversy.
                    18         C.     Legal Issues
                    19         Plaintiff BakeMark:
                    20         BakeMark anticipates that its claims will raise the following issues:
                    21         1.     Whether Defendants violated the Defend Trade Secrets Act, 18 U.S.C.
                    22   § 1836;
                    23         2.     Whether Defendants Navarro, Klein, Mulloy, and Altavilla breached
                    24   their employment contracts with BakeMark by failing to hold BakeMark’s
                    25   Confidential Information in confidence;
                    26         3.     Whether Defendants Navarro and Klein breached their duties of
                    27   loyalty to BakeMark under California Labor Code Sections 2860 and 2863 and
                    28
DOCUMENT PREPARED                                                  -6-
ON RECYCLED PAPER

                                                     JOINT RULE 16(B)/26(F) REPORT
         Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 7 of 18 Page ID #:1101



                     1   under common law by engaging in conduct inimical to the best interests of
                     2   BakeMark while employed by BakeMark;
                     3            4.     Whether Defendants Navarro and Klein, as high-ranking managerial
                     4   and director-level employees with special relationships of confidence with
                     5   BakeMark, breached their fiduciary duties to BakeMark by engaging in conduct
                     6   inimical to the best interests of BakeMark while employed by BakeMark;
                     7            5.     Whether Defendants’ unlawful and unfair conduct violated California
                     8   & Professions Code §§ 17200, et seq.
                     9            6.     Whether Defendants Navarro and Klein violated the Computer Fraud
                    10   and Abuse Act, 18 U.S.C. § 1030, and Penal Code § 502 by impermissibly
                    11   accessing BakeMark’s computer systems;
                    12            7.     Whether Defendants Navarro, Klein, and Sunrise intentionally and
                    13   unlawfully interfered with BakeMark’s customer relationships; and
                    14            8.     Whether BakeMark is entitled to a preliminary and/or permanent
                    15   injunction.
                    16            Defendants Capitol and Hardgrove:
                    17            1.     Whether Capitol independently developed its donut mix formulations;
                    18            2.     Whether Capitol independently purchased certain donut mix
                    19   formulations from a third party;
                    20            3.     Whether Capitol’s conduct constitutes fair competition;
                    21            4.     Whether there was a misappropriation of any of BakeMark’s trade
                    22   secrets;
                    23            5.     Whether BakeMark’s donut mix formulations constitute a protectable
                    24   trade secret;
                    25            6.     Whether BakeMark’s donut mix formulations have inherent economic
                    26   value;
                    27            7.     Whether BakeMark has suffered any legal damage as a result of
                    28   Defendants’ conduct.
DOCUMENT PREPARED                                                   -7-
ON RECYCLED PAPER

                                                        JOINT RULE 16(B)/26(F) REPORT
         Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 8 of 18 Page ID #:1102



                     1         Defendants Klein, Navarro, Mulloy, and Sunrise, additional legal issues:
                     2         1.     Whether Bakemark’s restrictive covenants unlawfully restrict
                     3   employee mobility. California Business & Professions Code §16600;
                     4         2.     Whether BakeMark’s claims are barred by the doctrine of unclean
                     5   hands based on unfair Competition per California Business & Professions Code
                     6   §17200, et seq.;
                     7         3.     Whether Defendants Navarro and Klein had any fiduciary duty to
                     8   BakeMark;
                     9         4.     Whether BakeMark’s claims are barred based on the doctrine of
                    10   laches;
                    11         5.     Whether BakeMark’s actions are in bad faith such that the Sunrise
                    12   Defendants are entitled to recovery of their fees and costs per Section
                    13   1836(B)(3)(D) of the DTSA.
                    14         D.     Parties, and Non-Party Witnesses:
                    15         The parties to this action are Plaintiff BakeMark USA, LLC, Defendant
                    16   Javier Navarro, Defendant Jeffrey Klein, Defendant Boyd Mulloy, Defendant
                    17   Thomas Altavilla, Defendant Gary Hardgrove, Defendant Sunrise Food Service,
                    18   Inc., and Defendant Capitol Distribution Company, LLC.
                    19         Plaintiff BakeMark:
                    20         At this time, BakeMark identifies the following percipient witnesses on the
                    21   main issues in the case:
                    22              1. The Defendants
                    23              2. John Levi
                    24              3. Steve Kodo
                    25              4. Roy Bahner
                    26              5. Kim Munoz
                    27              6. Tony Chao
                    28              7. John Kupniewski
DOCUMENT PREPARED                                                -8-
ON RECYCLED PAPER

                                                     JOINT RULE 16(B)/26(F) REPORT
         Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 9 of 18 Page ID #:1103



                     1              8. Tony Marquez
                     2              9. Edmund Urias
                     3              10. Pablo Rizzo
                     4              11. Cesar Elguezabal
                     5              12. BakeMark customers having information related to BakeMark’s
                     6                 claims
                     7              13. Capitol employees having information related to BakeMark’s claims
                     8              14. Sunrise employees having information related to BakeMark’s claims
                     9         Defendants Capitol and Hardgrove:
                    10         1.      John Levi
                    11         2.      Gary Hardgrove
                    12         3.      Steve Kodo
                    13         4.      Boyd Mulloy
                    14         5.      Javier Navarro
                    15         6.      Jeffrey Klein
                    16         7.      Roy Bahner
                    17         8.      Other Employees of Sunrise
                    18         9.      Unknown Employees of BakeMark
                    19         Defendants Klein, Navarro, Mulloy, and Sunrise additional potential
                    20   witnesses:
                    21         Unknown BakeMark employees.
                    22         E.      Damages:
                    23         At this time, Plaintiff BakeMark will seek the following damages: lost sales
                    24   and profits from illegal conduct including losses of revenues due to loss of
                    25   customers; increased costs of labor and personnel causally linked to the misuse of
                    26   confidential financial metrics.
                    27         F.      Insurance:
                    28         BakeMark is not aware of insurance for Defendants at this stage.
DOCUMENT PREPARED                                                   -9-
ON RECYCLED PAPER

                                                        JOINT RULE 16(B)/26(F) REPORT
        Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 10 of 18 Page ID #:1104



                     1         G.        Motions:
                     2         BakeMark contemplates amending its pleadings and/or adding parties
                     3   following the conclusion of expedited discovery. The Parties propose August 2,
                     4   2021 as the deadline for amending pleadings and/or adding parties.
                     5         H.        Manual for Complex Litigation:
                     6         At this time, the Parties agree that the Manual for Complex Litigation should
                     7   not be utilized.
                     8         I.        Status of Discovery:
                     9              1.      Status of Expedited Discovery
                    10         Pursuant to the Court’s Order Re Joint Report Pursuant to Court’s April 24,
                    11   2021 Order Re: Expedited Discovery and Preliminary Injunction Briefing (Dkt. 77)
                    12   (“Expedited Discovery Order”), the Parties were given leave to: (i) propound a
                    13   maximum of 10 Requests for Production and 10 Interrogatories to each/any of the
                    14   Parties related to the claims/defenses implicated by BakeMark’s Application for
                    15   Temporary Restraining Order (Dkt. 32) and its intended Application for
                    16   Preliminary Injunction; and (ii) depose a witness pursuant to Rule 30(b)(6) from
                    17   each entity party, each individually named party, and/or persons who had submitted
                    18   declaration in the action to date (limited in length to 2 hours per party/side). The
                    19   Expedited Discovery Order set the following schedule:
                    20          Deadline to propound written discovery requests – May 17, 2021
                    21          Deadline to Notice Rule 30(b)(6) Depositions – May 24, 2021
                    22          Deadline to submit Stipulated Protective Order – May 24, 2021
                    23          Deadline to respond to written discovery requests – June 11, 2021
                    24          Deadline for all depositions to occur – July 9, 2021
                    25          BakeMark’s supplemental briefing and evidence regarding request for
                    26              preliminary injunction due – July 23, 2021
                    27          Defendants’ opposition briefing and evidence due – August 6, 2021
                    28          BakeMark’s reply briefing and evidence due – August 20, 2021
DOCUMENT PREPARED                                                 - 10 -
ON RECYCLED PAPER

                                                       JOINT RULE 16(B)/26(F) REPORT
        Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 11 of 18 Page ID #:1105



                     1          Hearing on BakeMark’s motion for preliminary injunction – August 30,
                     2            2021
                     3         Accordingly, the Parties timely propounded written discovery requests and
                     4   timey noticed individual and Rule 30(b)(6) depositions. The Parties also timely
                     5   submitted a Stipulated Protective Order governing the production and use of
                     6   confidential information, which was approved by this Court’s Order dated June 1,
                     7   2021 (Dkt. 82).
                     8         At the Parties’ Rule 26 conference, a disagreement arose regarding whether
                     9   BakeMark was required to simultaneously respond to written discovery and
                    10   produce documents on June 11, 2021, prior to the scheduled depositions.
                    11   Accordingly, on June 11, 2021, Defendants Sunrise, Navarro, Klein, and Mulloy
                    12   (collectively, the “Sunrise Defendants”) filed an Ex Parte Application To Modify
                    13   the Order Re Expedited Discovery and Preliminary Injunction Briefing (Dtk. 83)
                    14   (“Ex Parte Application”). Following BakeMark’s agreement to work with
                    15   Defendants on a new expedited schedule, the Sunrise Defendants withdrew the Ex
                    16   Parte Application (Dkt. 84).
                    17         The Parties are working on submitting a Stipulation to Extend Deadlines Set
                    18   Forth in Court’s Order Re Joint Report Pursuant to Court’s April 24, 2021 Order
                    19   Re: Expedited Discovery and Preliminary Injunction Briefing.
                    20            2.       Preservation, Discovery, and Disclosure of Documents, ESI,
                                           and Tangible Things:
                    21

                    22         The Parties understand that discovery of electronically stored information
                    23   (“ESI”) is necessary, have discussed evidence preservation generally, and
                    24   understand their respective obligations to preserve documents, ESI, and tangible
                    25   things containing materials that are relevant to the claims and defenses asserted in
                    26   this case or that may lead to the discovery of admissible evidence. The Parties have
                    27   discussed the production of ESI and the form in which this information will be
                    28   produced. The Parties agree to work together in good faith should any issues arise
DOCUMENT PREPARED                                                  - 11 -
ON RECYCLED PAPER

                                                        JOINT RULE 16(B)/26(F) REPORT
        Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 12 of 18 Page ID #:1106



                     1   regarding the preservation, discovery, and disclosure of documents, ESI, and
                     2   tangible things.
                     3              3.      Initial Disclosures:
                     4         The Parties have agreed to exchange initial disclosures pursuant to Rule
                     5   26(a) on August 2, 2021. The Parties do not propose changes to the requirements
                     6   of Rule 26(a)(1).
                     7         J.        Discovery Plan:
                     8         Plaintiff BakeMark:
                     9         In addition to the expedited discovery to be conducted pursuant to the
                    10   Court’s Expedited Discovery Order, BakeMark anticipates the following fact
                    11   discovery:
                    12              1. Deposition of Defendants and other witnesses who may have
                    13                   information related to the Parties’ claims and defenses;
                    14              2. Written discovery and document requests regarding the Parties’ claims
                    15                   and defenses;
                    16              3. Third-party discovery concerning the Parties’ claims and defenses.
                    17         BakeMark will know more about the names of additional individuals to be
                    18   deposed following completion of expedited discovery. BakeMark will know
                    19   whether changes to the limits set forth in the Federal Rules of Civil Procedure are
                    20   needed following completion of expedited discovery.
                    21         Defendants Capitol and Hardgrove:
                    22         1.        Deposition of Plaintiff and other witnesses who may have information
                    23   related to the Parties’ claims and defenses;
                    24         2.        Written discovery and document requests regarding the Parties’ claims
                    25   and defenses;
                    26         3.        Third-party discovery concerning the Parties’ claims and defenses.
                    27

                    28
DOCUMENT PREPARED                                                   - 12 -
ON RECYCLED PAPER

                                                         JOINT RULE 16(B)/26(F) REPORT
        Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 13 of 18 Page ID #:1107



                     1         Defendants Klein, Navarro, Mulloy, and Sunrise:
                     2         1.     Deposition of Plaintiff and other witnesses who may have information
                     3   related to the Parties’ claims and defenses;
                     4         2.     Written discovery and document requests regarding the Parties’ claims
                     5   and defenses;
                     6         3.     Third-party discovery concerning the Parties’ claims and defenses.
                     7         K.     Discovery Cutoff:
                     8         The Parties propose the final day for completion of non-expert discovery,
                     9   including resolution of all discovery motions, to be March 7, 2022.
                    10         L.     Expert Discovery:
                    11         The Parties propose the following dates with respect to expert discovery:
                    12         Initial Expert Disclosure/Reports…………………………March 21, 2022
                    13         Rebuttal Expert Disclosure/Reports………………………April 4, 2022
                    14         Expert Discovery Cutoff, including depositions………….April 18, 2022
                    15         M.     Dispositive Motions:
                    16         BakeMark anticipates seeking summary judgment or adjudication on its
                    17   claims. The Sunrise Defendants anticipate seeking summary judgment or
                    18   adjudication on the claims alleged and Defendants’ defenses. Capitol and Gary
                    19   Hardgrove anticipate seeking summary judgment or adjudication on the claims
                    20   alleged and Defendants’ defenses.
                    21         N.     Settlement:
                    22         To date, the parties have not conducted settlement discussions. BakeMark
                    23   agrees to submit to private mediation.
                    24         O.     Trial Estimate:
                    25         Plaintiff BakeMark:
                    26         At this time, BakeMark anticipates calling seven party witnesses, possibly
                    27   five or more third-party fact witnesses, and one or more experts, depending on the
                    28
DOCUMENT PREPARED                                                 - 13 -
ON RECYCLED PAPER

                                                      JOINT RULE 16(B)/26(F) REPORT
        Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 14 of 18 Page ID #:1108



                     1   experts designated by Defendants. Thus, BakeMark anticipates approximately
                     2   seven to ten days of trial.
                     3         Defendants Capitol and Hardgrove:
                     4         Depending on the number of expert witnesses and the number of actual hours
                     5   in each trial day, Capitol and Gary Hardgrove anticipates a 12- 14 day trial.
                     6         Defendants Klein, Navarro, Mulloy, and Sunrise:
                     7         Depending on the number of expert witnesses and the number of actual hours
                     8   in each trial day, Sunrise Defendants anticipates a 12- 14 day trial.
                     9         P.     Trial Counsel:
                    10         Plaintiff BakeMark:
                    11         James Turken (lead), Jayesh Patel, Chakameh Ganji
                    12         Defendants Capitol and Hardgrove:
                    13         Gary K. Salomons
                    14         Defendants Klein, Navarro, Mulloy, and Sunrise:
                    15         Theodore E. Bacon
                    16         Q.     Independent Expert or Master:
                    17         The Parties do not believe a Master is needed for this case. However, if
                    18   discovery issues/problems arise, the Parties will meet and confer further on this.
                    19         R.     Timetable:
                    20         The Parties submit the requested Schedule of Pretrial and Trial Dates for
                    21   Civil Cases attached hereto as Exhibit A.
                    22         S.     Other Issues:
                    23         The Parties do not anticipate additional issues at this time.
                    24         T.     Patent Cases:
                    25         Not applicable as the case does not involve patents.
                    26         U.     Whether the Parties Wish to Have a Magistrate Judge Preside:
                    27         The Parties do not consent to proceed before a magistrate judge for all further
                    28   proceedings including trial and entry of judgment.
DOCUMENT PREPARED                                                 - 14 -
ON RECYCLED PAPER

                                                       JOINT RULE 16(B)/26(F) REPORT
        Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 15 of 18 Page ID #:1109



                     1   Dated: June 18, 2021            JAMES TURKEN
                     2                                   JAYESH PATEL
                                                         CHAKAMEH GANJI
                     3                                   NORTON ROSE FULBRIGHT US LLP
                     4
                                                         By /s/ Chakameh Ganji
                     5                                       CHAKAMEH GANJI
                     6                                       Attorneys for Plaintiff
                                                             BAKEMARK USA, LLC.
                     7

                     8
                         Dated: June 18, 2021            THEODORE E. BACON
                     9
                                                         JACOB M. CLARK
                    10                                   ALVARADOSMITH
                                                         A PROFESSIONAL CORPORATION
                    11

                    12                                   By     /s/ Theodore E. Bacon
                                                               THEODORE E. BACON
                    13
                                                               Attorneys for Defendants
                    14                                         SUNRISE FOOD SERVICE, INC.,
                    15
                                                               JAVIER NAVARRO, JEFFREY
                                                               KLEIN AND BOYD MULLOY
                    16

                    17
                         Dated: June 18, 2021            SALOMONS LAW GROUP
                    18

                    19
                                                         By      /s/ Gary K. Salomons
                                                              GARY K. SALOMONS
                    20                                        Attorneys for Defendants
                    21                                        CAPITOL DISTRIBUTION COMPANY,
                                                              LLC and GARY HARDGROVE
                    22

                    23

                    24

                    25

                    26

                    27

                    28
DOCUMENT PREPARED                                          - 15 -
ON RECYCLED PAPER

                                                JOINT RULE 16(B)/26(F) REPORT
        Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 16 of 18 Page ID #:1110



                     1                               FILER’S ATTESTATION
                     2
                               The undersigned hereby attests that concurrence in the filing of this Joint Rule
                     3
                         16(b)/26(f) Report has been obtained from counsel for Defendants and is
                     4
                         electronically signed with the express permission of Defendants’ counsel.
                     5

                     6
                         Dated: June 18, 2021                   NORTON ROSE FULBRIGHT US LLP
                     7
                                                                By /s/ Chakameh Ganji
                     8
                                                                    CHAKAMEH GANJI
                     9                                              Attorneys for Plaintiff
                    10
                                                                    BAKEMARK USA, LLC.

                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
DOCUMENT PREPARED                                               - 16 -
ON RECYCLED PAPER

                                                     JOINT RULE 16(B)/26(F) REPORT
Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 17 of 18 Page ID #:1111




                EXHIBIT A
Case 2:21-cv-02499-JAK-AGR Document 86 Filed 06/18/21 Page 18 of 18 Page ID #:1112




    (2 weeks after non-expert discovery cut-off)



    (4 weeks after non-expert discovery cut-off)



    (6 weeks after non-expert discovery cut-off)



    (6 weeks after non-expert discovery cut-off)



    (ADR-12 Form will be completed by Court after
    scheduling conference)




    (First Friday following last day to conduct settlement
    conference or mediation)


    (10 days after due date to file notice of settlement / joint
    report re settlement: Mondays at 1:30 pm)
